      Case 4:23-cv-00858 Document 13 Filed on 05/13/23 in TXSD Page 1 of 1
                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                          IN THE UNITED STATES DISTRICT COURT                                May 15, 2023
                          FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk

                                   HOUSTON DIVISION

RICHARD SCHLUTER                                    §
     Plaintiff                                      §
VS                                                  §     CIVIL ACTION NO. 4:23cv0858
                                 §
US BANK NATIONAL ASSOCIATION     §
AS TRUSTEE FOR THE CABANA SERIES §
IV TRUST, et al                  §
      Defendants                 §


                                      ORDER STAYING CASE


        Pending before the Court is a Suggestion of Bankruptcy (Doc. No. 12) stating that on April

29, 2023, Plaintiff Richard Schluter filed a voluntary Chapter 13 petition under the United States

Bankruptcy Code, 11. U.S.C. § 101 et seq., in the United States Bankruptcy Court for the Southern

District of Texas, Houston Division. The bankruptcy case is styled Richard Alan Schluter, Jr., debtor

and assigned case number 23-31526. An Automatic Stay is presently in effect.

        When a bankruptcy petition is filed, an automatic stay operates as a self-executing injunction.

The stay prevents creditors from taking any collection actions against the debtor or the property of

the debtor's estate for pre-petition purposes. 11 U.S.C. § 362(a). The Court therefore

        ORDERS that this case is STA YED. All pending motions are MOOT, but may be summarily

re-urged if the automatic stay is lifted .
                                                    ..r----
        SIGNED at Houston, Texas, this         1~         day of May, 2023.




                                                            ANDREW S. HANEN
                                                        UNITED STATES DISTRICT JUDGE
